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                                  UNITED STATES COURT OF APPEALS
                                      FOR THE FOURTH CIRCUIT
                                        OFFICE OF THE CLERK
                                        1100 East Main Street, Suite 501
                                        Richmond, Virginia 23219-3517
                                            www.ca4.uscourts.gov
             Patricia S. Connor                                                 Telephone
                    Clerk                                                      804-916-2700


                                             April 21, 2020
                                     ___________________________

                       REVISED TRANSCRIPT ORDER ACKNOWLEDGMENT
                                 ___________________________


         No. 19-4620 (L), US v. Randy Banks
                          1:16-cr-00267-CCB-5

        This acknowledgment establishes a deadline for filing all transcript ordered from
        this court reporter. Please notify the court if arrangements are made for expedited
        filing of the transcript.

        Court Reporter: Douglas J. Zweizig
        Current Deadline: 05/26/2020
        Proceedings: Sentencing 11/05/2019
        Ordering Party: Dante Bailey

        Counsel may request the transcript in either electronic or paper form. In multi-
        defendant CJA cases, electronic or paper copies of necessary transcript prepared for
        one defendant must be provided to co-defendants by the court reporter, co-counsel,
        or the district court clerk. Payment for transcript copies is claimed on a CJA 24
        voucher and is limited to commercially competitive rates not to exceed $.15 per
        page. For assistance in obtaining electronic copies of the transcript, see Record
        Access for New Appellate Counsel or contact the Fourth Circuit appointments
        deputy, Lisa McFarland.

        Seven days have been added to the court reporter deadlines to permit appropriate
        financial arrangements to be completed. If the district court has not yet acted on a
        request for transcript under the Criminal Justice Act, counsel should confirm that
        the CJA 24 application has been filed with the district court for approval by the
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        judge.

        If the transcript order is deficient or the CJA 24 application is not approved within 7
        days of this acknowledgment, the court reporter must complete and file a
        Transcript Order Deficiency Notice with this court within 14 days of this
        acknowledgment. If the court reporter has grounds for an extension of time, a
        request for extension may be sought using the Transcript Extension Request
        form.

        This court is notified of the filing of the Appeal Transcript in the district court
        through the district court's CM/ECF system. If the transcript is not filed by the due
        date, a transcript sanction takes effect, as provided in the Guidelines for
        Preparation of Appellate Transcripts in the Fourth Circuit. If a transcript
        sanction is in effect, the court reporter must file a Certification of filing of
        transcript/sanctions form with this court at the time the transcript is filed with the
        district court, certifying that the appropriate sanction has been deducted from the
        transcript fee. Court forms are available for completion as links from this notice and
        at the court's web site, www.ca4.uscourts.gov.

        Anisha Walker, Deputy Clerk
        804-916-2704
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                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                       TRANSCRIPT ORDER DEFICIENCY NOTICE

         No. 19-4620 (L), US v. Randy Banks
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        To permit confirmation of financial arrangements, including approval by the
        district court of the CJA 24 form, 7 days have been added to the period
        established by the transcript guidelines for filing of appellate transcript. If
        financial arrangements are not confirmed within 7 days or if there are other
        problems with the transcript order, the court reporter should, within 14 days
        of issuance of the transcript order acknowledgment, file a transcript order
        deficiency notice with the Court of Appeals identifying the problem. Copies of
        the deficiency notice will be sent via CM/ECF to the parties and the district
        court.

        []    Transcript has previously been filed with district court. (specify)
        []    Not all requests on CJA 24 application were granted by
              district court. (specify)
        []    Motion for transcript at government expense has not been granted
              (28 U.S.C. § 753(f)).
        []    Satisfactory financial arrangements have not been made. (specify)
        []    Transcript order is unclear. (specify)
        []    Other (specify):

         Relief Requested:        [ ] Rescission of filing deadline
                                  [ ] Extension of filing deadline to _______________
        Court Reporter:
        Signature:
        Date:
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                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

                           TRANSCRIPT EXTENSION REQUEST

         No. 19-4620 (L), US v. Randy Banks
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        If an extension of time is needed to complete the transcript, the court reporter
        may file a Transcript Extension Request with the Court of Appeals at least 10
        days in advance of the deadline, setting forth specific information in support of
        the request. Copies of the request shall be served on the parties to the case and
        the district court Reporter Coordinator. The granting of an extension also
        constitutes a waiver of sanctions through the date of the extension.

        Court Reporter: Douglas J. Zweizig
        Current Deadline: 05/26/2020
        Extension Requested to:

        As of this date, approximately pages have been completed and pages are
        yet to be transcribed. Justification is as follows:
           1. Outstanding District Court transcripts ordered within 90 days of this
               request: Any pending appellate transcripts will be taken into
               consideration in deciding this request.

           2. In-Court Time: (give total days/hours by month)

           3. Travel: (give hours spent traveling to and from Court by month)

           4. Other: (please provide information you would like the Court to consider
              when reviewing your request. Please be aware that this information will
              be posted on the public docket.)

        Signature:
        Date:
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